   9:20-cv-02144-DCN-MHC        Date Filed 06/05/20    Entry Number 3     Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH CAROLINA

                               BEAUFORT DIVISION


Cheryl A. Munday and Margaret Devine,         ) CIVIL ACTION NO.: 9:20−cv−02144-DCN-BM
on behalf of themselves and others            )
similarly situated,                           )
                                              )
             Plaintiffs,                      ) DEFENDANTS' ANSWERS TO
                                              )   26.01 INTERROGATORIES
-vs-                                          )
                                              )
Beaufort County, Philip Foot, Quandara        )
Grant, John Does 1-5 and Jane Does 1-5,       )
                                              )
          Defendants.                         )
__________________________________            )

TO:    ROBERT S. METRO, ESQUIRE, ATTORNEY FOR PLAINTIFF:

       The Defendants, above named, answering Interrogatories pursuant to the

Rules of Federal Procedure and pursuant to Local Rule 26.01 of the U.S. District

Court, state as follows:

       A)     State the full name, address, and telephone number of all persons or
              legal entities who have a subrogation interest in each claim, and state
              the basis and extent of said interest.

ANSWER: The Defendants are unaware of any persons or entities with any
subrogation interests at this time.

       B)     As to each claim, state whether it should be tried jury or nonjury and
              why.

ANSWER: The Defendants have no preference as to how this case is tried.

       C)     State whether the party submitting these responses is a publicly owned
              company, and separately identify: (1) each publicly owned company of
              which it is a parent, subsidiary partner or affiliate; (2) each publicly
              owned company which owns ten percent or more of the outstanding
              shares or other indicia of ownership of the party; and (3) each publicly

                                          1
  9:20-cv-02144-DCN-MHC        Date Filed 06/05/20     Entry Number 3      Page 2 of 3




            owned company in which the party owns ten percent or more of the
            outstanding shares.

ANSWER: Not applicable. The Defendants are not publicly owned company.

      D)    State the basis for asserting your claim in the division in which it was
            filed. (or the basis of any challenge to the appropriateness of the
            division.)

ANSWER: The Beaufort Division is appropriate.

      E)    Is this action related in whole or in part to any other matter filed in this
            District, whether civil or criminal? If so, please provide: (1) a short
            caption and the full case number of the related action; (2) an
            explanation of how the matters are related; (3) a statement of the
            status of the related action. Counsel should disclose any cases which
            may be related regardless of whether they are still pending. Whether
            cases are related such that they should be assigned to a single Judge
            will be determined by the Clerk of Court based on a determination of
            whether the cases: arise from the same or identical transactions,
            happenings or events; involve the identical parties or property; or for
            any other reason would entail substantial duplication of labor if heard
            by different judges.

ANSWER: The Defendant is not aware of this action being related to any
other matter filed in District Court, whether civil or criminal.

      F)    If the Defendant is improperly identified, give the proper identification
            and state whether counsel will accept service of an amended
            summons and pleadings reflecting the correct identification.

ANSWER:     The Defendants are properly identified.

      G)    If you contend that some other person or legal entity is, in whole or in
            part, liable to you or the party asserting a claim against you in this
            matter, identify such person or entity and describe the basis of said
            liability.

ANSWER: The Defendants are not aware, inclusive of themselves, who is
liable to the Plaintiff for the matters set forth in Plaintiff's Complaint.




                             {Signature Page Follows}



                                          2
   9:20-cv-02144-DCN-MHC           Date Filed 06/05/20      Entry Number 3       Page 3 of 3




                                             HOWELL, GIBSON & HUGHES, P.A.



                                             By:_s/Mary Bass Lohr
                                             Mary Bass Lohr
                                             Post Office Box 40
                                             Beaufort, SC 29901-0040
                                             (843) 522-2400
                                             Attorney for Defendants
                                             Federal Bar No: 7804



Beaufort, South Carolina

June 5, 2020


                                CERTIFICATE OF SERVICE

I certify that I served the foregoing Answers to 26.01 Interrogatories upon all counsel of
record, in this proceeding, via electronic mail, and/or via United States Postal Service, with
proper postage affixed thereto, to counsels’ last known email address and/or mailing
address on this 5th day of June, 2020.


                                           By: s/Mary Bass Lohr
                                               Mary Bass Lohr




                                              3
